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                           UNITED STATES DISTRICT COURT FOR THE                                         (I
                            NORTHERN DISTRICT OF WEST VIRGINIA
                                                                                                               Vt
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   UNITED STATES OF AMERICA,

        Plaintiff,
                                                       Criminal No.           £     1
   V.


   MARK HANSIIAW AND                                   Violations:           18 U.S.C.   §2
   TYLER HALL,                                                               18 U.S.C.   § 922(g)(3)
                                                                             18 U.S.C.   § 924(a)(2)
        Defendants.



                                              INDICTMENT

The Grand Jury charges that:

                                              COUNT ONE

                           (Drug User in Possession of a Firearm   —   Aiding and Abetting)

          On or about September, 2015, in Jefferson County, in the Northern District of West

Virginia, defendant MARK HANSHAW, who is an unlawful user of and addicted to a controlled

substance, that is heroin, and TYLER HALL, who is an unlawful user of and addicted to a

controlled substance, that is heroin, aiding and abetting each other, did knowingly possess in and

affecting commerce a firearm, that is a Taurus 38 Special, Serial Number FY58661, in violation

of Title 18, United States Code, Sections 922(g)(3), 924(a)(2) and 2.

                                                         A true bill,

                                                         /s/
                                                         Grand Jury Foreperson

 /s/_______________________________________
 WILLIAM J. POWELL
 UNITED STATES ATTORNEY

 Paul T. Camilletti
 Assistant United States Attorney
